Case 2:05-cr-20265-BBD Document 10 Filed 08/10/05 Page 1 of 2 Page|D 12

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IN THE UNITED STATES DISTRlCT COURT DATEZLL_A_L_' O“‘ 9
FOR THE WESTERN DISTRICT OF TENNESSEE T|ME: a :55 pm

 

WESTERN DIVISION
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UNITED STATES OF AMERICA
vS. CR. NO. 05-20265 - D
Judge Donald
JOSEPH STEVEN HAND,
Defendant

 

ORDER ON ORAL MOTION TO CONTINUE REPORT HEARING

The defendant Was arraigned before the Magistrate Judge August 10, 2005. The Report
Hearing has been scheduled for August 25 and the trial date for September 6. Retained counsel
for the defendant, Kemper B. Durand, orally moved the court to continue the Report Hearing to
September With a trial date in OCtober. Mr. Durand advised that he has discussed this With Steve
Parker, Assistant U. S. Attorney, and that Mr. Parker consented to a continuance

Therefore, it is hereby ORDERED that the Report Hearing be continued to September
and that the trial date be continued to October.

This O¢Aday of August, 2005.
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Bernice Bouie Dona d
United States District Judge

Approved:

@MBW

Kem ber B. Durand
Attorney for Defendant

 

Thts document entered on the dockets eet in com£pflance /O
with Rule 35 ami/or 32(b) FHC:P on § ' [J -0\)

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 10 in
case 2:05-CR-20265 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

Kemper B. Durand

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Honorable Bernice Donald
US DISTRICT COURT

